  Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 1 of 23 Page ID #:164



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 7
      Attorneys for Plaintiffs,
 B
      JOHN BURNELL, JACK POLLOCK and all others similarly situated
 a
                                         UNITED STATES DISTRICT COURT
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11             CENTRAL DISTRICT OF CALIFORIIIA" EASTERII DIVISION
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      JOHN BURNELL, JACK POLLOCK,                         Case No.:   ED-CV 10-00809 VAP(OPx
13    all others similarly situated, and the
      aggrieved employees under the Labor                 CLASS ACTION GRCP 23)
L4
      Code Private Attornevs General Act of
15
      2004,                                               [PROPOSEDI FIRST AMENDED
L5
                                                          COMPLAINT FOR DAMAGES,
               Plaintiffs,                                RESTITUTION, AND CIVI
r'7
                                                          PENALTIES FOR VIOLATIONS
               VS.                                        OF THE CALIFORNIA LABOR
1B

      SWIFT TRANSPORTATION CO.                            CODE, AND CALIFORNIA
L9
      INC., an Arizona corporation; SWIFT                 BUSINESS AND PROFESSIONS
20    TRANSPORTATION CO. OF                               CODE
27
      ARIZONA, LLC, a Delaware limited
      liability company; and DOES 1                       JURY TRIAL DEMANDED
zz
      through 50, inclusive,
23
               Defendants.
24

25

26

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       Bumell v. Swift Transportation Co., Inc., et al,                   First Amended   Action Complaint
     Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 2 of 23 Page ID #:165




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          Burnell v. Swift Transportation Co., Inc., et al.     First Amended Class Action Complaint
 Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 3 of 23 Page ID #:166




                Plaintiffs JOHN BURNELL and JACK POLLOCK ("Plaintiffs"), on behalf
      of themselves, all others similarly situated, and the aggrieved employees under the
      Labor Code Private Attorneys General Act ("PAGA") of 2004, hereby file this
      Complaint against defendants SWIFT TRANSPORTATION CO., INC., an
      Arizona corporation, SWIFT TRANSPORTATION CO. OF ARIZONA, LLC, a
      Delaware limited liability company, and DOES                         1 through 50, inclusive
 '7
      ("Defendants"). Plaintiffs are informed, believe, and thereon allege as follows:
 6
                                                       INTRODUCTION
 9
                1.         Plaintiffs have filed this action, seeking class action treatment, to
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      recover unpaid wages and penalties from Defendants for their violations of, inter
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      alia, California Labor Code ("Labor Code") $$ 20Q, et seq., 512 and 1194, et seq.,
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      Business & Professions Code $$ 17200, et seq., the applicable Wage Order(s)
13
      issued by the California Industrial Welfare Commission (hereinafter, the "IWC
1A
      Wage Order(s)"), and related common law principles.
15
                2. This Class Action                     lawsuit challenges Defendants' employment
ao
      practices with respect to its Drivers and other similarly-titled employees employed
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      in California, primarily in that Defendants did not pay them minimum wages for
18
      all hours worked, failed to ensure that they were actually relieved of all duty
L9
      during meal and rest periods, failed to reimburse them for all necessary business
20    related expenses, and failed to provide them with lawful payment instruments.
2L
      Through this class and collective action, Plaintiffs seek general damages,
      liquidated damages, penalties, and restitution from Defendants on behalf of
23    themselves, all others similarly situated, andlor the aggrieved employees.
                3.         In this action, Plaintiffs seek to represent the class of employees of
25    Defendants that are residents of the state of California.
26             4.          The acts complained of herein have occurred, are presently occurring,
27    and are expected to continue occurring, within the time period from four (4) years
2B




       Burnell v. Swift Transportation Co., Inc., et                         First Amended Class Action Complaint
 Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 4 of 23 Page ID #:167



 I
      preceding the filing of the original Complaint, up to and through the time of trial
 a
      for this matter (hereinafter, the "Relevant Time Period").
 3
               5.         Plaintiffs are informed and believe and thereon allege that all of
 A
      Defendants' Drivers                     in      California have virtually   the same duties                 and
 5
      responsibilities, regardless of region, district, andlor facility. As a consequence,
 b
      any differences between particular individual employees who have worked                                        as
 '7
      local and regional drivers for Defendants,                         in terms of the duties actually
 B
      performed, were and are legally insignificant to the issues presented by this action.
               6.         The economic reality of the relationship is that Plaintiffs and the
10
      members         of the class, who are or were non-exempt employees of                          Defendants,
L1
      were, among other things, suffered to:
T2
                          A.          Regularly work without being paid minimum wages or agreed
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      rates as required by Labor Code $$ 204, 223,1194,1197, and 1198;
L4
                          B.          Work without being afforded proper meal and rest periods in
15
      conformity with Labor Code $$ 226.7, 512, and the applicable IWC Wage
I6
      Order(s);
L7
                          C.          Work without being properly reimbursed andlor indemnified
1B
      for all necessary business expenditures or losses incurred by them in the direct
t9
      consequence of the discharge of their duties in violation of Labor Code $ 2802;
20
                          D. Work without being paid with instruments immediately
2I    payable      in cash, on demand, and without discount in California in violation of
22
      Labor Code $ 212;
z5
                          E. Work without being provided accurate wage
24
      statements/paystubs in violation of Labor Code $ 226(a);
25
                          F.          Work without having timely received all pay due to them, in
26
      particular, upon the termination                      of their   employment, whether voluntary or
      involuntary, in violation of Labor Code $ 203; and
28




       Burnell v. Swift Transportation Co. Inc., et                               First Amended Class Action Complaint
     Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 5 of 23 Page ID #:168




                      G.            Work in a business environment where they were routinely and
       uniformly subjected to unfair business practices within the meaning of Business &
       Professions Code $$ 17200, et seq.
                                 JURISDICTION AND VENUE
              7.      This Court has subject matter jurisdiction over this case pursuant to
       28 U.S.C. $$ 1332(d)(2) and 1367(a). Plaintiffs are informed and believe that the
 7
        aggregate amount            in controversy in this action exceeds $5 million, that there            are
 B
       more than 100 class members, and that at least one Defendant is a citizen of                               a

       different state than Plaintiffs.
10
              8.      Venue is proper under 28 U.S.C.             $   1391 because Defendants are
l_1
       subject to personal jurisdiction in this judicial district and the conduct described
1-2
       herein occurred in whole or in part in this judicial district as directed toward
13
       Plaintiffs and the members of the below-described classes andlor subclasses.
1-4
                                                     PARTIES
15
       A.     Plaintiffs
I6            9.      Plaintiff JOHN BURNELL worked for Defendants as a Driver in
I7     California during the Relevant Time Period. He was at aII relevant times                                   a
1B
       California resident.
              10.     Plaintiff JACK POLLOCK worked for Defendants as a Driver in
20
       California during the Relevant Time Period. He was                  at all relevant times a
21,
       California resident.
aa
              11.     Plaintiffs, on behalf of themselves and all others similarly situated,
23
       seek damages, including, but not limited                to, restitution for unpaid             wages,
24     reimbursement, penalties and other compensation, from Defendants                              for    the
25     Relevant Time Period because they have:
26                    A.            Failed to pay them minimum wages or agreed rates for all
27     hours worked:
28                    B.            Failed to provide them with duty free meal and rest periods;


                   Transportation                                          First Amended Class Action Complaint
  Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 6 of 23 Page ID #:169



                            C. Failed to                   reimburse them      for all    necessary business
      expenditures and/or losses incurred during the discharge of their duties;
                            D.          Failed to pay them with instruments that are immediately
 4
      payable in cash, on demand, and without discount in California;
 5
                            E.          Failed to fumish them accurate itemized wage statements;
 o
                            F.          Failed to timely pay them all wages due following separation
 '7
      of employment; andlor
                            G.          Subjected them to unfair and unlawful business practices.
      B.        Defendants
l0              12.         Defendant SWIFT TRANSPORTATION CO., INC. is a corporation
11
      organized under the laws                        of Arizona. Plaintiffs is are informed and believe             and
I2    thereon allege that SWIFT TRANSPORTATION CO., INC. has employed
AJ
      Drivers and engaged in unlawful business practices in California as alleged herein.
1A
                13.         Defendant SWIFT TRANSPORTATION CO. OF ARIZONA,LLC
15
      is a limited liability company organized under the laws of Delaware. Plaintiffs are
ao
      informed and believe and thereon allege that SWIFT TRANSPORTATION CO.
I'7
      OF ARIZONA, LLC has employed Drivers and engaged in unlawful business
1B
      practices in California as alleged herein.
I9              14.        Defendants DOES                  I   through 50, inclusive are now, andlor at all
20
      times mentioned in this Complaint were licensed to do business andlor actually
21    doing business in California.
                15.        Plaintiffs are ignorant of the true names, capacities, relationships, and
23    extents of participation                     in the conduct alleged herein, of Defendants sued as
24    DOES 1-50, inclusive, but are informed and believe and thereon allege that said
25    Defendants are legally responsible for the wrongful conduct alleged herein and
26    therefore sues these Defendants by such fictitious names. Plaintiffs                         will   amend the
27    Complaint to allege the true names and capacities of the DOE Defendants when
28    ascertained.



       Burnell v. Swift Transportation Co., Inc., et al.                             First Amended Class Action Complaint
 Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 7 of 23 Page ID #:170



             16.   Plaintiffs are informed, believe, and thereon allege that Defendants
 t
      and each of them, are now andlor at aII times mentioned in this Complaint were in
 3
      some manner legally responsible for the events, happenings and circumstances
      alleged in this Complaint.
 5
             17.   Plaintiffs are informed, believe, and thereon allege that Defendants
 o
      and each of them, at all times herein mentioned, were and are the agents, servants,
 l                 joint venturers, andlor partners of
      employees,                                         each   of the other Defendants,                and
 I    were, at alI such times, acting within the course and scope of said employment
      andlor agency; furthermore, that each and every Defendant herein, while acting as
10
      a high corporate officer, director andlor managing agent, principal andlor
1l_
      employer, expressly directed, consented to, approved, affirmed and ratified each
L2
      and every action taken by the other co-defendants, as herein alleged and was
13
      responsible in whole or in part for the matters referred to herein.
1A
            18.    Plaintiffs are informed, believe, and thereon allege that Defendants,
15
      and each of them, proximately caused Plaintiffs, all others similarly situated, and
16
      the aggrieved employees to be subject to the unlawful practices,                          wrongs,
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      complaints, injuries andlor damages alleged in this Complaint.
18
            19.    Defendants, and each of them, are now, andlor at all times mentioned
L9
      in this Complaint were, members of and/or engaged in        a   joint venture, partnership
20    and common enterprise, and were acting within the course and scope of, and in
27    pursuit of said joint venture, partnership and common enterprise and, as such were
      co-employers of the Plaintiffs and the putative class herein.
ZJ
            20.    Defendants, and each      of them, at all times mentioned in                        this
      Complaint concurred with, contributed to, approved               of, aided and abetted,
25    condoned andlor otherwise ratified the various acts and omissions of each and
zo    every one of the other Defendants in proximately causing the injuries andlor
27    damages alleged in this Complaint.
28                             CLASS ACTION ALLEGATIONS


                          Co. Inc., et                                 First Amended Class Action Complaint
 Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 8 of 23 Page ID #:171




               21.        Plaintiffs seek to represent the following classes and subclasses of
     current, future, andlor former employees of Defendants defined below:
                          A.          Driver Class: A11 Drivers and other similarly-titled employees
     with similar job duties who (1) are residents of the state of California, (2) worked
     for Defendants during the Relevant Time Period in California, and (3) Defendants
     assigned to home terminals in California.

                          B.          California Route Driver Subclass:       A11   members of the Driver
     Class who drove from one California location to another without leaving the State.
 9
                           C.         Pay Card Class:       A11 members    of the Driver Class and the
10
     California Route Driver Subclass who were paid their wages with a Comdata
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     pay card and paid for their first cash or check transaction following a payment                               of
72
     wages.
13
                          D. Former Emplovee Class: A11 persons employed by
a4
     Defendants in California, including, but not limited to the members of the                            Driver
15
     Class and the California Route Driver Subclass, whose employment with
I6   Defendants ended during the period beginning four (4) years prior to the filing                               of
I7   this action and ending on the date that final judgment is entered in this action.
18
                          E.          UCL Class:         A11 members   of the Driver Class, California
I9   Route Driver Subclass, Pay Card Class, and/or Former Employee Class.
20            22.         This action has been brought and may be maintained as a class action
2I   under Rule 23(a) of the Federal Rules of Civil Procedure with respect to claims
zz   for violations of California law.
23            23.         Numerosity: Plaintiffs are informed, believe, and thereon allege the
24   potential membership in each of the classes is so numerous that joinder of all
25   members is impractical and exceeds the minimum number required for numerosity
zo   purposes under both California and Federal law. The exact number and specific
27   identities       of    class members may be readily ascertained through inspection of
2B   Defendants' business records.


      Burnell v. Swft Transportation Co., Inc., et al.                          First Amended Class Action Complaint
 Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 9 of 23 Page ID #:172



               24.         Commonality: Plaintiffs are informed, believe, and thereon allege
     that numerous questions                         of law and/or fact are common to all               class andlor
     subclass members including, without limitation:
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                          A.           Whether class members received the legal minimum wage or
 5
     agreed rate under California law flor all hours during which they were subject to
 o
     Defendants' control;
 1
                          B.          Whether Defendants failed and continue to fail to provide meal
 o
     periods and paid rest periods, free of duty, to class members in violation of the
 9
     Labor Code and the applicable IWC Wage Order(s);
10
                           C.         Whether Defendants failed and continue to fail to reimburse
11
     class members              for all necessary business expenditures and/or losses incurred in
T2
     the discharge of their duties as required by Labor Code $ 2802;
13
                          D.          Whether Defendants failed to timely furnish accurate itemized
I4   statements to class members in conformity with Labor Code $ 226(a);
15
                          E.          Whether Comdata pay cards comply with Labor Code                                       $
16
     212(a);
L7
                          F.          Whether class members are entitled to penalties pursuant to
ao
     Labor Code $ 203; and
L9
                          G.          Whether class members are. entitled                to     restitution under
20   Business       & Professions Code S 17204.
2t            25.         Typicality: Plaintiffs are informed, believe, and thereon allege that
22   their claims are typical of the claims of all class members who they seek to
     represent. Plaintiffs have suffered the same                        or similar injuries as other               class

     members based on courses of conduct which Plaintiffs are informed and believe
25   and thereon allege have resulted from company policies andlor practices to which
26   other class members are also subject.
              26.         Adequacy              of    Representative: Plaintiffs   will fairly and adequately
z6   protect the interests of the class members they seek to represent. Plaintiffs are


      Burnell v. Swift Transportation Co., Inc., et al,                               First Amended Class Action Complaint
 Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 10 of 23 Page ID #:173




      adequate class representatives because they are class members whose interests do
      not conflict with the interests of the class and subclasses that they seek to
      represent. Plaintiffs intend to prosecute this action vigorously for the benefit of the
 4
      class members. The interests                 of   class members   will be fairly      and adequately
 5
      protected by Plaintiffs.
             27   .      Adequacy of Counsel: Plaintiffs have retained counsel competent and
      experienced in the prosecution of wage and hour class actions. Plaintiffs' counsel
  I   intends to prosecute this action vigorously for the benefit of class members. The
      interests   of class members will be fairly and adequately protected by Plaintiffs'
10
      counsel.
11
             28.         Superiorit).: Plaintiffs are informed, believe, and thereon allege that
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      this action is properly brought as a class action, because:
13
                         A.            The prosecution    of   separate actions   by or        against class
I4    members would create risk of inconsistent or varying adjudications with respect to
15
      individual class members, which would establish incompatible standards of
L6
      conduct for the party opposing class members;
L7
                         B.            Adjudications with respect to individual class members would,
18
      as a practical matter, be dispositive of the interests of the other members not
19    parties to the adjudications               or substantially impair or impede their ability                  to
20    protect their interests;
2T
                         C.            Defendants have acted or refused to act on grounds generally
      applicable to all members of the class, making injunctive relief or declaratory
23    relief appropriate with respect to all of the class;
24                       D.            Questions   of law or fact common to                class      members
25    predominate over any questions affecting only individual class members; and
26                       E.            Class action treatment is superior   to other available         methods
2'7   for the fair and efficient adjudication of the controversy.
z6
                                             FIRST CAUSE OF ACTION


                      Transportation                                           First Amended Class Action Complaint
Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 11 of 23 Page ID #:174




                      RECOVERY OF UNPAID MINIMUM WAGES
                         (Lab. Code $$ 204,223,1194,1197, and 1198)
     (By Plaintiffs, the Driver Class, and the California Route Driver Subclass)
         29.      Plaintiffs incorporate each and every one of the allegations contained
   in the preceding paragraphs of this Complaint as though fully set forth herein.
         30.      Section 2 of the applicable Wage Orders defines "hours worked"                     as

   "the time during which an employee is subject to the control of an employer, and
   includes all the time the employee is suffered or permitted to work, whether or not
   required to do so."
         3   1.   Section 4 of the applicable Wage Orders require an employer to pay
   non-exempt employees at least the minimum wage set forth therein for all hours
   worked, which consist of all hours that an employer has actual or constructive
   knowledge that employees are working.
         32.  Labor Code $ 1194 invalidates any agreement between an employer
   and an employee to work for less than the minimum wage required under the
   applicable Wage Orders.
         33.    Labor Code S 1194.2 entitles non-exempt employees to recover
   liquidated damages in amounts equal to the amounts of unpaid minimum wages
   and interest thereon          in addition to the underlying unpaid minimum         wages and
   interest thereon.
         34.      Labor Code $ 1197 makes it unlawful for an employer to pay                        an

   employee less than the minimum wage required under the applicable Wage Orders
   for all hours worked during a payroll period.
         35.      Labor Code $ 1197.1 provides that it is unlawful for any employer or
   any other person acting either individually or as an officer, agent, or employee                  of
   another person, to pay an employee, or cause an employee to be paid, less than the
   applicable minimum wage.
         36.      Labor Code $ 1198 makes it unlawful for an employer to employ an


              Transportation Co., Inc., et                        First Amended Class Action Complaint
Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 12 of 23 Page ID #:175




   employee under conditions that violate the applicable Wage Orders.
            37.
              Labor Code 5 223 prohibits an employer from secretly paying an
   employee lower wages than required by statute or contract while purporting to pay
   legal wages.
            38.Labor Code $ 204 requires employers to timely pay earned wages to
   their employees for all labor that their employees normally perform by no later
   than the regularly scheduled payday for that pay period and for all labor in excess
   of that which their employees normally perform by no later than the regularly
   scheduled payday for the next pay period.
             39.        During the Relevant Time Period, Defendants required the members
   of the Driver Class and the California Route Driver Subclass to remain under
   Defendants' control without paying therefor, which resulted in the members of the
   Driver Class and the California Route Driver Subclass earning less than the
   legal minimum wage in California for portions of the days during which they
   worked.
             40.        Specifically, Defendants maintained a practice of refusing to pay
   hourly rates of at least the state-mandated minimum wage for time spent by
   Driver Class and the California Route Driver Subclass members doing
   activities that include, but are not limited to, the following:
                        A.          Drivins miles in excess of the estimated miles for which thev
   were paid;
                        B.          Performing pre- and post-trip inspections;
                        C.          Fueling vehicles;
                        D.          Waiting for dispatch to be issue assignments via on board
   computer systems; and
                        E.          Hooking and unhooking empty trailers.
             41.        Defendants' pattern and practice           of uniformly        administering               a

   corporate policy, whereby Defendants failed to pay the legal minimum wage to


    Burnell v. Swift Transportation Co., Inc., et                           First Amended Class Action Complaint
Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 13 of 23 Page ID #:176




   the members of the Driver Class and the California Route Driver Subclass,
   violates Labor Code $$ 204, 223,1194,1197, and 1198.
            42.         Plaintiffs, on behalf of himself themselves and the members of the
   Driver Class and the California Route Driver Subclass, seek to                                recover,
   pursuant to Labor Code                       $ 119a(a), the unpaid balance of the minimum        wages

   owed them, calculated as the difference between the compensation paid and the
   applicable minimum wage for all hours worked, including interest thereon.
             43.        Plaintiffs, on behalf of themselves and the members of the Driver
   Class and the California Route Driver Subclass, seek liquidated damages
   pursuant to Labor Code 5 II94.2(a) on the straight-time portion of uncompensated
   hours of work (not including the overtime portion thereof) in an amount equal to
   the wages unlawfully unpaid and interest thereon.
             44.        Plaintiffs, on behalf of themselves and the members of the Driver
   Class and the California Route Driver Subclass, further seeks, as a consequence
   of   Defendants' non-payment                      of minimum   wages, penalties pursuant        to    the
   applicable IWC Wage Order at $ 20(A).
             45.        Plaintiffs, on behalf of themselves and the members of the Driver
   Class and the California Route Driver Subclass, seek pre-judgment interest on
   all amounts recovered herein pursuant to Labor Code $$ 218.6, 1 l9a@) and Civil
   Code $$ 3287(b) and 3289.
             46.        Plaintiffs, on behalf of themselves and the members of the Driver
   Class and the California Route Driver Subclass, seek reasonable attorneys' fees
   and costs        of suit pursuant to Labor Code $ 1194, Code of Civil               Procedure               $

   102I.5, the common fund doctrine, andlor the substantial benefit doctrine.
                                             SECOND CAUSE OF ACTION
                      FAILURE TO PROVIDE MEAL AND REST PERIODS
                             (Lab. Code $$ 226.7 and 512)
     (By Plaintiffs, the Driver Class, and the California Route Driver Subclass)


    Burnell v. Swift Transportation Co., Inc., et                                     ass   Action Complaint
 Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 14 of 23 Page ID #:177




                47.         Plaintiffs incorporate each and every one of the allegations contained
      in the preceding paragraphs of this Complaint as though fully set forth herein.
                48.         Plaintiffs are informed, believe, and thereon allege that members of
      the Driver Class and the California Route Driver Subclass regularly worked
      more than five (5) hours per shift; thus, they were entitled to one or more meal
      periods of not less than thirty (30) minutes without duty.
                49.         Plaintiffs are informed, believe, and thereon allege that all members
      of the Driver Class and the California Route Driver Subclass regularly worked
      eight (8) or more hours per shift, thus they were entitled to at least two paid rest
      periods of not less than ten (10) minutes without duty.
                50.        Nevertheless, Plaintiffs are informed, believe, and thereon allege that
      Defendants routinely fail to timely provide members of the                      Driver Class           and the
      California Route Driver Subclass with such meal periods and paid rest periods
      without duty, notwithstanding the fact that members of the class have not waived
      their right to the same.
                51. At all relevant times during the applicable limitations period,
      Defendants treated members                           of the Driver Class and the California              Route
      Driver Subclass as if they were exempt from the meal and rest                                            period
      requirements established by Labor Code 55 226.7,512,516 and Sections 11 and
      12 of the IWC Wage Order(s), and, in failing to comply with these provisions                                    of
      California law, Defendants denied andlor failed to permit the Driver Class and
      the California Route Driver Subclass meal and rest periods on a regular basis.
23
                52.          Plaintiffs, on behalf of themselves and the members of the Driver
24
      Class and the California Route Driver Subclass, seeks damages (in terms of
25    premium pay) pursuant to Section                        II(D) andlor 12(B) of the IWC Wage Order(s)
zo    and Labor Code S 226.7(b), in the amount of one (1) additional hour of pay at the
2'7   employee's regular rate                     of compensation for each work day that the meal andlor
28    rest period is/was not provided to any member of the class, the cumulative sum                                  of


       Burnell v. Swift Transportation Co., Inc., et al,                           First Amended Class Action Complaint
 Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 15 of 23 Page ID #:178




      which is to be proved at time of trial.
            53.      Plaintiffs, on behalf of themselves and the members of the Driver
      Class and the California Route                 Driver Subclass,   seek pre-judgment interest on
      all amounts recovered herein pursuant to Labor Code $$ 218.6, 1I9a@) and Civil
      Code $$ 3287(b) and 3289.
             54.     Plaintiffs, on behalf of themselves and the members of the Driver
 7
      Class and the California Route Driver Subclass, seek reasonable attorneys' fees
 8
      and costs   of suit pursuant to Labor Code $ 1194, Code of Civil                         Procedure             $
 9
      I02l.5,the common fund doctrine, and/or the substantial benefit doctrine.
10
                                             THIRD CAUSE OF ACTION
11
                                              FAILURE TO INDEMNIFY
IZ
                                    (Lab. Code $ 2802(a))
        (By Plaintiffs, the Driver Class, and the California Route Driver Subclass)
            55.      Plaintiffs incorporate each and every one of the allegations contained
      in the preceding paragraphs of this Complaint as though fully set forth herein.
I6           56.  In pertinent part, Labor Code $ 2802(a) states, "An employer shall
1-1
      indemnifu his or her employeefs] for all necessary expenditures incurred by the
18
      employee in direct consequence of the discharge of his or her duties
I9          57.      At relevant times during the applicable limitations period, Plaintiffs
20
      and the members of the               Driver Class   and the   California Route Driver Subclass
2I    incurred necessary business related expenses and costs, including, but not limited
22    to, cell phone usage, mileage, gas, tolls, and other necessary business expenses.
23
      Defendants failed to indemnif,i Plaintiffs and the members of the                       Driver       Class
.A
      and the   California Route Driver Subclass for such expenditures.
25
            58.      By reason of the above, Plaintiffs and the members of the Driver
26    Class and the California Route Driver Subclass are entitled to restitution for all
2'7
      unpaid amounts due and owing to them within four years (4) of the date of the
28    filing of the Complaint until the date of entry ofjudgment.


                  Transportation Co., Inc., et al,                             irst Amended Class Action Complaint
 Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 16 of 23 Page ID #:179



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              59.         Plaintiffs. on behalf of themselves and the members of the Driver
2
     Class and the California Route                     Driver Subclass, seek interest thereon pursuant
 3
     to Labor Code $ 218.6,                      costs pursuant to California Labor Code $ 218.6, and
 4
     reasonable attorneys' fees pursuant                     to California Code of Civil         Procedure          $

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     1021.5.
 o
                                              FOURTH CAUSE OF ACTION
          FAILURE TO TIMELY FURNISH ACCURATE ITEMIZED WAGE
                                                         STATEMENTS
 9                                 (Lab. Code $ 226(a))
10
       (By Plaintiffs, the Driver Class, and the California Route Driver Subclass)
11
           60. Plaintiffs incorporate each and every one of the allegations contained
     in the preceding paragraphs of this Complaint as though fully set forth herein.
1a



13
               61.        Defendants paid the Driver Class and the California Route Driver
     Subclass on a piece-rate basis, typically on a cents per mile basis with some
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15
     variations thereon. However, Defendants failed to pay class members at least
I5   minimum wages for all hours worked by the Driver Class and the California
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     Route Driver Subclass during the Relevant Time Period.
18             62.Plaintiffs are informed, believe, and thereon allege that Defendants in
19   violation of Labor Code $ 226(a), engaged in a consistent practice with respect to
20   members of the Driver Class and the California Route Driver Subclass of
27
     regularly failing              to furnish         each Driver Class and California Route Driver
     Subclass member with accurate itemized statements in writing showing (1) gross
23   wages earned, (2) total hours worked by the employee, (3) all deductions, (4) net
24   wages eamed andlor (5) all applicable hourly rates in effect during each respective
25   pay period and the corresponding number of hours worked at each hourly rate by
zo   each respective individual.
27              63.
                 Plaintiffs are informed, believe, and thereon allege that Defendants
2B   did not maintain accurate business records pertaining to the total hours worked for


                                                                                 First Amended Class Action Complaint
       Burnell v. Swift Transportation Co., Inc., et
Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 17 of 23 Page ID #:180




    Defendants by the members of the                    Driver Class and the California Route Driver
    Subclass.
              64.        Plaintiffs, on behalf of themselves and the members of the Driver
                                                                                                     of
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    Class and the California Route Driver Subclass, seek the greater                                      actual
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    damages or penalties pursuant to Labor Code S 226( e) for each violation by
6
    Defendants of Labor Code $ 226(a), and also seek an award of reasonable
    attorneys' fees and costs.
                                                FIFTH CAUSE OF ACTION
                                  UNLAWFUL PAYMENT INSTRUMENTS
                                                 (Lab. Code $ 212(a))
                                        (By Plaintiffs and the Pay Card Class)
              65.        Plaintiffs incorporate each and every one of the allegations contained
    in the preceding paragraphs of this Complaint as though fully set forth herein.
              66.Labor Code 5 2I2 makes it unlawful for an employer to pay wages
    with an instrument unless it is payable in cash, on demand, and without discount
    at some established place of business in California, the name of which must
    appear on the face of the instrument.

              67.        Plaintiffs are informed, believe, and thereon allege that Defendants in
    violation of Labor Code S 2I2, engaged in a consistent practice with respect to
    members of the Pay Card Class of paying them with Comdata pay cards that do
    not state where in California they may be cashed on demand and without discount
    that has resulted in fees being charged to members of the Pay Card Class in
    obtaining their wages.
              68.        Plaintiffs, on behalf of themselves and the members of the Pay Card
    Class, seek to recover all moneys lost as a result of fees they incurred from
    Comdata pay cards.
              69.        Plaintiffs, on behalf of themselves and the members of the Pay Card
    Class, seek pre-judgment interest on all amounts recovered herein pursuant to


     Burnell v. Swft Transportation Co., Inc., et al.                         First Amended Class Action Complaint
 Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 18 of 23 Page ID #:181




     Labor Code $$ 218.6, 1Da@) and Civil Code $$ 3287(b) and 3289.
               70.        Plaintiffs, on behalf of himself themselves and the members of the
     Pay Card Class, seek reasonable attorneys' fees and costs of suit pursuant to
     Labor Code $ 1194, Code of Civil Procedure $ 1021.5, the common fund doctrine,
     andlor the substantial benefit doctrine.
                                                 SIXTH CAUSE OF ACTION
                 FAILURE TO TIMELY PAY ALL EARNED FINAL WAGES
                                             (Lab. Code S$ 201:203)
                                (By Plaintiffs and the Former Employee Class)
              7I.         Plaintiffs incorporate each and every one of the allegations contained
     in the preceding paragraphs of this Complaint as though fully set forth herein.
I2            72.
                Labor Code $$ 20I-202 impose the following requirements on
13
     employers with respect to the final payment of all earned and unpaid wages upon
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     separation of employment:
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                          A.         Employees whose employment     is involuntarily terminated
fo
     must be immediately paid all earned and unpaid wages at the time of separation;
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                          B.         Employees who voluntarily terminate their employment and
     give at \east 72 hours-notice before quitting must be immediately paid all earned
     and unpaid wages at the time of separation; and
20
                          C.         Employees who voluntarily terminate their employment and
2L   give less than 72 hours' notice before quitting must be all earned and unpaid
22   wages no later thartT2 hours after the time of separation.
23            73.         Plaintiffs are informed, believe, and thereon allege that Defendants,
     in violation of Labor Code $$ 201-203, consistently and willfully failed to timely
25   pay members of the Former Employee Class by failing to timely furnish them
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     with any wages due and owing andlor failing to timely furnish them with all
27   wages due and owing including, but not limited to, basic minimum wages and
2B   premium pay due for denial of meal periods.


      Burnell v. SwiJt Transportation Co., Inc., et                      First Amended Class Action Complaint
Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 19 of 23 Page ID #:182




            74.        Plaintiffs, on behalf of themselves and the members of the Former
   Employee Class, seek to recover continuations of wages pursuant to Labor Code
   $ 203, in the amount of each class members' daily wage multiplied by up to a
   maximum of thirty (30) days, the exact amount of which is to be determined at
   trial.
            75.        Plaintiffs, on behalf of themselves and the members of the Former
   Employee Class, seek pre-judgment interest on all amounts recovered herein
   pursuant to Labor Code $$ 218.6, 1 I9a@) and                   Civil Code $$ 3287(b) and 3289.
            76.        Plaintiffs, on behalf of themselves and the members of the Former
   Employee Class, seek reasonable attorneys' fees and costs of suit pursuant to
   Labor Code $ 1194, Code of Civil Procedure $ 1021.5, the common fund doctrine,
   andlor the substantial benefit doctrine.
                                            SEVENTH CAUSE OF ACTION
                                                   UNFAIR COMPETITION
                                          (Bus. & Prof. Code $$ 17200, et seq.)
                                             (By Plaintiffs and the UCL Class)
            77.         Plaintiffs incorporate each and every one of the allegations contained
   in the preceding paragraphs of this Complaint as though fully set forth herein.
            78.         The unlawful conduct of Defendants alleged herein amounts to and
   constitutes unfair competition within the meaning                    of Business and         Professions

   Code $ 17200. Due to its unfair and unlawful business practices in violation of the
   Labor Code, Defendants have unfairly gained a competitive advantage over other
   comparable companies doing business in California that comply with their legal
   obligations under the Labor Code.
            79.         Business           & Professions Code $$ L7200, et seq., protects against
   unfair competition and allows a person who has suffered an injury-in-fact and has
   lost money or property as a result of an unfair, unlawful, or fraudulent business
   practice to seek restitution on his own behalf and on behalf of other similarly


            v. Swift Transportation Co., Inc., et al.                        First Amended Class Action
 Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 20 of 23 Page ID #:183




      situated persons in a class action proceeding.
               80. As a result of Defendants' unfair competition                            as alleged herein,
      Plaintiffs have suffered injuries in fact and lost money or property from not being
      paid wages for all hours worked, not being paid premium wages for missed meal
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      and rest periods, not being reimbursed for all necessary business expenditures,
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      being provided with unlawful pay instruments that charge fees to obtain wages,
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      and not being paid continuation wages for not being timely paid all earned and
 B
      unpaid wages.
               81. Plaintiffs are informed and believe and thereon allege that
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      Defendants may have acquired interests in money or property from the members
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      of the UCL Class from not being paid wages for all hours worked, not being paid
I2    premium wages for missed meal and rest periods, not being reimbursed for all
13
      necessary business expenditures, being provided                        with unlawful pay instruments
L4
      that charge fees to obtain wages, and not being paid continuation wages for not
15
      being timely paid all earned and unpaid wages.
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               82.         to Business and Professions Code S 17203, Plaintiffs, on
                          Pursuant
1-7
      behalf of themselves and the members of the UCL Class, seek to recover all
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      money or property that Defendants may have acquired as a result of their unlawful
19    and unfair business practices as alleged herein.
20             83.        Pursuant to Code of               Civil Procedure $ 1021.5, the substantial benefit
      doctrine, andlor the common fund doctrine, Plaintiffs, on behalf of themselves and
      the members of the               UCL Class,          seek an award of reasonable attomeys' fees.
23                                              EIGHTH CAUSE OF ACTION
                                                         CIVIL PENALTIES
25                                                    (Lab. Code $S 2698, et seq.)
26             84.        Plaintiffs incorporate each and every one the allegations contained in
27    the preceding paragraphs of this Complaint as though                      fully   set forth herein.
28             85.        Defendants violated Labor Code $$ 201                  ,   202, 203, 204, 212, 223,


       Burnellv. Swift Transportation Co., Inc., et                                       Amended Class Action Complaint
Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 21 of 23 Page ID #:184




   226(a), 226.7, 450,       5   12, I I94, I I97,    1   1   98 and 2802.
         86.    Labor Code $$ 2699(a) and (g) authorize an aggrieved employee, on
   behalf of himself and other current or former employees, to bring a civil action to
   recover civil penalties pursuant to the procedures specified in Labor Code Section
   2699.3.
         87.     Pursuant to Labor Code $$ 2699(a) and                        (f), Plaintiffs may recover
   civil penalties on behalf of themselves and other aggrieved current and former
   employees for Defendants' violations of Labor Code $$ 201 , 202, 203,204,212,
   223, 226(a), 226.7,       5   12, 1 19 4, 1 197,   11 9     8 and 2802 in the following amounts          :


                 A.         For violations of Labor Code $$                  201   ,202, 203,226.7, 1194,
   1197,1198, and2802 one hundred dollars ($100.00) for each aggrieved employee
   per pay period for each initial violation and two hundred dollars ($200.00) for
   each aggrieved employee per pay period for each subsequent violation (penalty
   amounts established by Labor Code $ 2699(f)(2));
                 B.         For violations of Labor Code S 204, one hundred dollars
   ($100.00) for each aggrieved employee for each initial violation and two hundred
   dollars ($200.00) for each aggrieved employee plus twenty-five percent (25%) of
   the amount unlawfully withheld from each aggrieved employee for                                              each

   subsequent,   willful or intentional violation (penalty amounts established by Labor
   Code $ 210);
                 C.   For violations of Labor Code $$ 2I2 and 223, one hundred
   dollars ($100.00) for each aggrieved employee for each initial violation and two
   hundred dollars ($200.00) for each aggrieved employee plus twenty-five percent
   (25%) of the amount unlawfully withheld from each aggrieved employee for each
   subsequent,   willful or intentional violation (penalty amounts established by Labor
   Code $ 225.5);
                 D.    For violations of Labor Code $ 226(a), if this action is deemed
   to constitute an initial citation pursuant to Labor Code 5 226.3, two hundred fifty


             Transportation Co., Inc., et al.                                               Class Action Complaint
     Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 22 of 23 Page ID #:185




       dollars ($250.00) per each employee for each violation. Alternatively,                               if   an initial

       citation or its equivalent occurred prior to this action, one thousand dollars
       ($1,000.00) per each employee                            for each subsequent violation (penalty           amounts

       established by Labor Code S 226.3);
                             E.
                        For violations of Labor Code $ 512, fifty dollars ($50.00) fo.
       each aggrieved employee for each initial violation for pay period for which the
       employee was underpaid                          in addition to an amount sufficient to recover unpaid
       wages and one hundred dollars ($100.00) for each underpaid employee for each
       pay period for which the employee was underpaid                               in addition to an amount
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        sufficient to recover unpaid wages (penalty amounts established by Labor Code                                          $
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        s58).
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                 88.         Plaintiffs have complied with the procedures for bringing suit
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        specified in Labor Code 5 2699.3. By letters postmarked September 11,2009 and
I4      September _,2010, Plaintiffs gave written notice via certified mail to the Labor
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        and Workforce Development Agency                             ("LWDA") and Defendants of the specific
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       provisions of the California Labor Code alleged to have been violated, including
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       the facts and theories to support the alleged violations. By letter dated October 23,
1B
        2009, the        LWDA stated that it does not intend to investigate their allegations by
19
       the time judgment is entered in this action.
20                89.        Pursuant to Labor Code section 2699(9), Plaintiffs are entitled to an
21      award of reasonable attorneys' fees and costs in connection with their claims for
22      civil penalties on behalf of themselves and other aggrieved employees.
23                                                           PRAYER FOR RELIEF
24                90.        WFIEREFORE, Plaintiffs, on behalf of themselves, all others
25      similarly situated, and the aggrieved employees pray for relief and judgment
26      against Defendants as follows:
27                           A.          An order that the action be certified as a class action;
2B                           B.          An order that Plaintiffs be appointed class representatives;


         Burnell v. Swift Transportation Co., Inc., et al,                              First Amended Class Action Complaint
 Case 5:10-cv-00809-VAP-OP Document 19-2 Filed 10/06/10 Page 23 of 23 Page ID #:186




                                       An order that Plaintiffs' counsel be appointed class counsel;
                                       Damages;
                                       Restitution;
                                       Declaratory relief;
                                       Civil penalties;
                                       Statutory penalties;
                                       Pre-j udgment interest;

                                       Costs of suit;
                                       Reasonable attorneys' fees; and
                                       Such other relief as the Court deems just and proper.
                                                 DEMAND FOR JURY TRIAL
               Plaintiffs, on behalf of themselves, all others similarly situated, and the
      aggrieved employees hereby demand                      a   jury trial on all issues so triable.


                  October 6,2010                              TFIE SPIVAK LAW FIRM
                                                              LAW OFFICES OF SFIALIN SETAREH




                                                                   Plaintiffs, JOHN BURNELL, JACK
                                                                   POLLOCK, and all others similarly
                                                                   situated

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       Burnell v. Swift Transportation Co., Inc., et al.                               First Amended Class Action ComPl
